           Case 2:19-bk-14693-BR                                             Doc 6 Filed 05/08/19 Entered 05/08/19 15:25:51                                                    Desc
                                                                             Main Document     Page 1 of 1




 i~ebt~r Marna             Coo# AtEwds, LLB

  un~t~r3 ~t~i~s ~r~+~upt~y coc,rt~ ~n~;                           c~r~~r~~G C~4s~r~i~~~ Qi= ~~,t_€~=~,i~~a~-~.~..




C~~C1~~ ~C?i'3°t'1 ~{~~

I~~~~~r~~~~r~ ~Jr~d~r ~'~r~~~~ ~~ ~' r+~r~ fc~r t~=inc~i u~~ ~~~~r~                                                                                                                          ,~,~
aldt ettLlikidtl~l tHttCi iS ~itth63`rTa@{9 L4 ~GY flt1 Ya~h31f 4r~F ~ t7Lttt-4CffliY1dU81 t3~172G~iP, such as a corparailon ar partner~h€p~ rr~ust sign ins!ss~brrait this
~4T~Yt FAY tEtB SC~'i~#SSIE@:5 O~ 2~St3'f8 ~.t3t~ E3~~}I~I'~~€L~ ~i5~f Zfx~tift' d4CU/Ci-t?t3f ~~1s?C l U1it3+ 3 41~@C~3f3~E071 tI1.3f 13 t3{kt S9YC~i3f~+~ff E~1 L~'iE d4ClFtilk fly,a:t~~# any
~mendm~nfsof those ds~~urrr~nfs:"€his firm srius# s#~te ft~ indi~isiu~l"s goy tion c1r eei~Ei+an~fnsp to ih~ debhar, tf~~ itsenfiiy of ~iie cip~ur~2rit,
end t3~ed~tn- ~ankeu~stcy f~ule~ 144$.a~d ~Cti"t_

Ih+ARA[!M~ -~ Ba~xkr~picy fr~u~f ~ a ~~r~ff~~ ct~€~t~, l~akin~g ~ fatse s2a€eaassnt, crart~e~l rag propgt#y, or obtain+ng mo~~y rar pro rty b~ fr~uti in
corrnect~rr~ w~fftt a fa~nknrptcy else Can r~Sutt irifznes uglrs ~O"~}4>d cat %mprisnnm~r~t far up 4a 20 ~~~rs~ ur~sot~_ i8 U.S. _ §§ 152,134'!X.
95'9,and 3679:



                     E3~ct~r~tian end s'sgna#ure


          f Kira the ~rresi~lerst, an y a€fic~r, tr ari auihariz~ ~en1of the ct=rpurafiorr; a mern~er crs aa~ a~sEivarir.~! aggti~ of                           ~arlru:rsnrp o~ anQtit~r
          ¢radsr~dual servf~ ~s a r~pr~s~rftativ~: o~?~±~ dEb#or in itai~ rase.

          I ~av~          n~in~ th~i infpsrri~iuin tai tf~~.dacurr~e~ts ~chs~kecf                  ~~~r a      f h~b~ ~a res~ana~=a t~eis¢# tt~~ ~~ n(nrrna? c~:~ ss 3=u# ~~ rsrract

           ~           SCtledt~{~ 1L~3:~s~~is~-F:ea~'~txf t~rsix+tat ~'ra ity {47ff"~ti~[ F4st~t 24t~ttt$~
           =           ScftQ~3u,'a iJ: Cr~~rtc~s 1~+~'to N~a~ C~~~cras ~,tretf tsar F~t~perf}~ (C3ffi~ ~ F=arm 2t~F~}
           ~           Sc~reric~t~ Ems: ~rec-~ztars Virtrr~ t~~r~ ter s~~rc~f G.'ain3~(f3~c~a: Fo~nr2~Et~)
           ~            Se~s~:~Yuf~r U; ~x~u ory Cori€r~~sarm ~Jrasx                        d teasers (C1S~s~~ai ~csm :Z~iUj
           ~            Sch~:-~uhe hf: Cod~taEprs {C~3~~~~1 ~cxm 2{#iN~
           ~            ~um~rr~r}~ iaf Asst~ arit# Lr'~bib`fFes for.r~e~ia-frr€~r~iduafs {C1; ~1 Form 2t3~Su~n)
           ~           &rt~nd~f Sch~tlirte
           ~j          ~f3apter ~ ~ cr ~t~a;.~x~°r 3 ~~~~~: ~i~.~ i~€ C~rfitcrrs ~'~7rn Nam fh~ ZU d.~r~et t,~ns~crrr~~t ~r~~»is ~rrri,~re~ E.;~t tnsrtfe~rs 4C3;~c ~s! Fu~rn 2{l4~
           ~           C~t#a~r dacurn~ni tai r~ r~?s a ikec~araticn           U~?d~t~~ GC~~i~LaT AT~dt~38 ~atPiX

          R rlec[are cin~ar p~+tz~~~}r cs~ per}usy that the f~regair;~ rs tru                       ccrrr


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                                                                                       Prtnf~ti ramp_

                                                                                       l4~Ra~~~ing ~?te~ai[a~r __.__.
                                                                                       Position a~ €Fiationship fry ~ea~lor




t~fr~eiai ~orr~ X62                                                            i~ee#~a`~tkia~ Under PenatEy flf Pe~jusy for Pd~rt-fnc3iv dual p~~tars
.:?%`~Fyre t:cftrf~'.!i'.; '-~,*5-r.:~ S ~ E~~t-vx:n. 1.~~: - vt+lr.~s#:.:z~Ae.ro;,i
°                                                                                                                                                                             F~.w >'. G,'~su: i2ar.1:~l~rf
